Case 5:18-cv-02223-VEB Document 28 Filed 10/19/20 Page 1 of 1 Page ID #:488



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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     DARRYL WAYNE ALLEN,                      )   Case No.: 5:18-cv-02223 VEB
11                                            )
                  Plaintiff,                  )   ORDER AWARDING EQUAL
12                                            )   ACCESS TO JUSTICE ACT
           vs.                                )   ATTORNEY FEES AND EXPENSES
13                                            )   PURSUANT TO 28 U.S.C. § 2412(d)
     ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
14   Commissioner of Social Security,         )   U.S.C. § 1920
                                              )
15                Defendant                   )
                                              )
16                                            )
17         Based upon the parties’ Joint Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, IT IS ORDERED that fees in the amount of $5,500.00,
19   as authorized by 28 U.S.C. §2412, be awarded subject to the terms of the Stipulation.
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21   DATED this 19th day of October, 2020
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23                                          /s/Victor E. Bianchini
24                                          VICTOR E. BIANCHINI
                                            UNITED STATES MAGISTRATE JUDGE
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